Case 2:05-cV-02308-SHI\/|-STA Document 12 Filed 08/19/05 Page 1 of 3 Page|D 24

 

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FOR THE wEsTERN DIsTRICT or TENNESSEE 05 AUG 1
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DIANNE wooDs, individually, and in her ciga§?; “A>,FDQ§.P§D
representative capacity as mother and W il Gj-` jt ir§'.'. glass

administratrix of the estate of
ANTONIO MILLER, deceased,

Plaintiff,

VS. NO. 05-2308 Ma\An
JURY DEMANDED
SHELBY COUNTY, TENNESSEE, et al.,

Defendants.

 

ORDER GRANTING MOTION OF DEFENDANTS SHELBY COUNTY,
ALEXANDER AND LITTLE FOR ENLARGEMENT IN WHICH TO FILE A
RESPONSIVE PLEADING AND/OR A MOTION

 

Defendants Shelby County Tennessee, Anthony A]exander, and George M. Little,
have moved, by and through counsel, to enlarge the time in which they may respond to the
Complaint filed in this cause in order to comply with the Requirements of the Federal Rules
of Civil Procedure. Counsel for the Plaintiff and the co-Defendants have been consulted and
agree to extend the time in which to respond by two (2) weeks

lt appearing to the Court that for good cause shown, the Motion of the Defendants
should be granted and they should be granted an additional period of two (2) weeks from the
date of the entry of this Order in which to file a responsive pleading and/or a motion in this
cause.

I'l` IS SO ORDERED.

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DATE; §{,{,{/.,/pw»€" /7' ymf

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Case 2:05-cV-O2308-SHI\/|-STA Document 12 Filed 08/19/05 Page 2 of 3 Page|D 25

Respectfully submitted,

 

Assistant County Attorney
Attorney for Shelby County

160 N. Main Street, Suite 660

Memphis, TN 3 8103

901 .545.2139

CERTIFICATE OF SERVICE

I, Debra L. Fessenden, do hereby certify that a copy of the foregoing was mailed
to Mr. Jeffrey S. Rosenblum and Mr. Marc E. Reisman, Attorneys at Law, 80 Monroe
Avenue, Suite 950, Memphis, TN 38103; Ms. M. Dell Stiner, Attorney at Law, 147
Jefferson, Suite 1205 , Memphis, TN 38103; and to Mr. Jerry Potter and Ms. Kay

Anders , Atto?s at Law, via U.S. First Class Mail, postage prepaid, on this i i:\_
` ' -‘ 05.

    

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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CV-02308 was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

